         Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 1 of 34



 1   Michael Rubin (SBN 80618)
     Connie K. Chan (SBN 284230)
 2   Raphael N. Rajendra (SBN 255096)
     ALTSHULER BERZON LLP
 3   177 Post Street, Suite 300
     San Francisco, CA 94108
 4   Telephone: (415) 421-7151
     Facsimile: (415) 362-8064
 5   mrubin@altber.com
     cchan@altber.com
 6   rrajendra@altber.com
 7

 8   Cliff Palefsky (SBN 77683)
     Keith Ehrman (SBN 106985)
 9   MCGUINN, HILLSMAN & PALEFSKY
     535 Pacific Avenue
10   San Francisco, CA 94133
     Telephone: (415) 421-9292
11   Facsimile: (415) 403-0202
12   CP@mhpsf.com
     keith@mhpsf.com
13
     Attorneys for Plaintiffs
14

15
                                 UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17

18 ROBIN BERMAN, BO KANG,                         Case No.
   KHASHAYAR MIRFAKHRAEI, THANG
19 VAN VU, DONNA VIERA-CASTILLO,                  ERISA COMPLAINT FOR BENEFITS,
   GIRISH RAMESH, PATRICK HANLEY,                 EQUITABLE RELIEF AND TO PREVENT
20 ILANA SHTERNSHAIN and MANDY                    DEFENDANTS’ CONTINUED
   SCHWARZ,                                       INTERFERENCE WITH PLAINTIFFS’
21                                                EXERCISE OF ERISA RIGHTS
                Plaintiffs,
22
         v.
23
   MICROCHIP TECHNOLOGY
24 INCORPORATED, a corporation; ATMEL
   CORPORATION, a corporation; and ATMEL
25 CORPORATION U.S. SEVERANCE
   GUARANTEE BENEFIT PROGRAM, an
26 employee benefit plan,

27                 Defendants
28

     _______________________________________________________________________________________________
                                            ERISA COMPLAINT
                           Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 2 of 34



 1                                                                                                                                                                                                INTRODUCTION

 2                                 1.                                  This is an ERISA action brought by nine former employees of defendants Atmel

 3   Corporation (“Atmel”) and Microchip Technology, Inc. (“Microchip”), the company that acquired

 4   Atmel by merger on April 4, 2016. Plaintiffs allege that Atmel and Microchip breached their ERISA

 5   fiduciary duties to plaintiffs, deprived plaintiffs of severance benefits guaranteed by defendants’

 6   ERISA-covered severance plan, and interfered with plaintiffs’ ability to exercise ERISA-protected

 7   rights, all in furtherance of defendants’ unlawful scheme and plan to avoid providing severance

 8   benefits to plaintiffs after using the lure of those promised benefits to induce plaintiffs to remain

 9   employed by Atmel and Microchip before and after the merger.

10                                 2.                                  Defendant Atmel, a supplier of microcontrollers, began seeking potential merger

11   partners in the summer of 2015. Recognizing that its employees might respond to the company’s

12   uncertain future by seeking alternative employment, Atmel created an ERISA severance plan for its

13   employees in July 2015 to provide economic incentives for those employees to remain in their jobs

14   while Atmel searched for and obtained a merger partner. Atmel’s “U.S. Severance Guarantee

15   Program” (referred to herein as the “Severance Guarantee Plan” or the “Plan”) provided that each

16   plaintiff would be entitled to several extra months of salary, health insurance premium payments,

17   and a pro-rated incentive bonus payment, as ERISA-protected severance benefits, if terminated

18   without cause following a corporate change of control that occurred within 18 months after an

19   “Initial Triggering Event,” defined as any “definitive agreement” entered into “on or before

20   November 1, 2015, that will result in a Change of Control of the Company.”

21                                 3.                                  Atmel’s Severance Guarantee Plan went into effect on July 9, 2015. The Initial

22   Triggering Event occurred on September 19, 2015, when Atmel signed its initial merger agreement

23   with Dialog Semiconductor plc. Between September 19, 2015 and April 4, 2016, when the merger

24   between Atmel and Microchip became final, first Atmel and then both Atmel and Microchip

25   repeatedly reassured plaintiffs that the Plan was in effect, that the Initial Triggering Event had

26   occurred in September, and that every employee terminated without cause between the date the

27   merger became final and March 19, 2017 (18 months after the Initial Triggering Event) would

28 receive the severance payments provided by the Plan.

                                                                                                                                                                                                                                        -1-
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                           Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 3 of 34



 1                                 4.                                  As soon as the Atmel-Microchip merger became final on April 4, 2016, Microchip

 2   began massive layoffs of Atmel employees covered by the Plan. Instead of providing the Plan’s

 3   severance benefits to each of the laid-off plaintiffs, as required by the plain language of the Plan, by

 4   Atmel’s consistent construction of the Plan, and by Atmel’s and Microchip’s uniform

 5   representations to plaintiffs, defendants knowingly, intentionally, and maliciously reneged on their

 6   contractual and fiduciary obligations by purporting to re-interpret the Plan as precluding the payment

 7   of any severance benefits to any former Atmel employees.

 8                                 5.                                  For the sole purpose of benefitting themselves at the expense of plaintiffs, and in

 9   plain derogation of their statutory and fiduciary duties, defendants falsely and fraudulently informed

10   plaintiffs after April 4, 2016 that the Plan had ceased to exist on November 1, 2015 (before

11   Microchip entered into its proposed merger agreement with Atmel); that there had never been an

12   Initial Triggering Event; that no plaintiff had any rights under the Plan because the Plan had ceased

13   to exist; and that the only way any former Atmel employees terminated without cause by Microchip

14   after April 4, 2016 could obtain any benefits at all would be for that employee to execute a broad

15   release waiving any and all claims against defendants, including any claims for benefits under the

16   Plan.

17                                 6.                                  At the time defendants made those statements and denied benefits to plaintiffs under

18   the Plan, defendants knew that the plain language of the Plan entitled plaintiffs to severance benefits

19   under the Plan, knew that Atmel as the Plan’s drafter and Administrator had consistently construed

20   the Plan between the date of drafting and April 4, 2016 as providing severance benefits to plaintiffs,

21   knew that Microchip and Atmel had both made consistent representations that plaintiffs relied upon

22   to their detriment that the Plan was in effect because the Initial Triggering Event had timely

23   occurred, and knew that the Plan expressly prohibited any post-merger construction of the Plan that

24   differed from Atmel’s pre-merger construction of that Plan.

25                                 7.                                  Defendants also willfully and maliciously delayed resolution of plaintiffs’ efforts to

26   pursue claims for benefits under ERISA, even though defendants have known since April 4, 2016

27   that they and the Plan would deny any claim for benefits under the Plan on the ground that the Plan

28   had ceased to exist on November 1, 2015.

                                                                                                                                                                                                                                        -2-
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                           Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 4 of 34



 1                                 8.                                  At all times relevant hereto, defendants and each of them acted as plaintiffs’

 2   fiduciaries and/or in the exercise of discretionary authority over the operation or administration of

 3   the Plan, and in violation of their fiduciary and contractual duties to plaintiffs.

 4                                 9.                                  By this lawsuit, plaintiffs seek: a) Plan benefits; b) a declaration that the Plan is valid

 5   and enforceable and remains in existence; c) a declaration that all Plan participants, including

 6   plaintiffs, are entitled to the full amount of benefits provided by the Plan if those persons were

 7   terminated without cause at any time between April 4, 2016 and March 19, 2017; d) an injunction

 8   prohibiting defendants from continuing to deny Plan benefits to eligible employees; e) an injunction

 9   prohibiting defendants from continuing to make false and fraudulent statements about the Plan’s

10   existence or about any employee’s current or future right to benefits under the Plan; f) an injunction

11   prohibiting defendants from continuing to delay the processing of any Plan member’s claim for

12   ERISA benefits; g) an injunction requiring defendants to pay the full amounts and benefits promised

13   under the Plan to all employees who were terminated without cause between the Merger close date

14   and March 19, 2017; and h) equitable make-whole relief to all employees who received no severance

15   benefits upon their termination by Microchip or Atmel than the Plan guaranteed.

16                                                                                                                                                               JURISDICTION AND VENUE

17                                 10.                                 This action under the Employee Retirement Income Security Act of 1974, 29 U.S.C.

18   §§1001 et seq. (“ERISA”), seeks benefits and equitable relief and seeks to prevent defendants’

19   continued interference with plaintiffs’ exercise of ERISA rights under Sections 502(a)(1)(B) and

20   (a)(3) and 510 of ERISA, 29 U.S.C. §§1132(a)(1)(B) and (a)(3) and 1140. This Court has original

21   federal question jurisdiction pursuant to 28 U.S.C. §1331 and ERISA.

22                                 11.                                 The Northern District of California has personal jurisdiction over all defendants,

23   because defendants Atmel and Microchip did business and are continuing to do business in this

24   district, because defendant Plan was created in this district, and because many of the acts complained

25   of occurred in this district and gave rise to the claims alleged.

26                                 12.                                 Venue is proper in the Northern District of California pursuant to 28 U.S.C. §1391(b)

27   and (c) because defendants may be found in this district and because a substantial number of the

28   events alleged occurred in this district.

                                                                                                                                                                                                                                        -3-
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                           Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 5 of 34



 1                                                                                                                                                                                                                      PARTIES

 2                                 13.                                 Plaintiffs Robin Berman, Bo Kang, Khashayar Mirfakhraei, Thang Van Vu, Donna

 3   Viera-Castillo, Girish Ramesh, Patrick Hanley, Ilana Shternshain and Mandy Schwarz (collectively

 4   referred to as “plaintiffs”) are former employee of defendants Atmel and Microchip. Plaintiffs are

 5   participants in defendant Atmel Corporation’s U.S. Severance Guarantee Benefit Program, as

 6   defined under Section 2(7) of ERISA, 29 U.S.C. §1002(7). Defendants Atmel and Microchip

 7   terminated plaintiffs without cause on or after April 6, 2016 and falsely informed them that they

 8   were not entitled to any benefits under the Plan upon such termination.

 9                                 14.                                 Defendant Atmel Corporation U.S. Severance Guarantee Benefit Program is an

10   employee benefit plan within the meaning of Section 2(3) of ERISA, 29 U.S.C. §1002(3).

11                                 15.                                 At all relevant times, defendant Atmel Corporation was a corporation incorporated in

12   the State of Delaware, with its principal place of business in San Jose, California.

13                                 16.                                 At all relevant times, defendant Microchip Technology Incorporated was a

14   corporation incorporated in the State of Delaware, with its principal place of business in the State of

15   Arizona. On information and belief, Microchip is the Plan Administrator, or controls the Plan

16   Administrator, for the Severance Guarantee Plan; has the authority to resolve any and all benefit

17   claims under the Severance Guarantee Plan; and has responsibility to pay benefits due under the

18   Severance Guarantee Plan.

19                                                                                                                                 GENERAL FACTS AND ALLEGATIONS

20                                                                                                                                                                  The Severance Guarantee Plan

21                                 17.                                 Until April 2016, when Atmel became a wholly owned subsidiary of Microchip,

22   Atmel was a publicly traded corporation. Atmel is a supplier of general purpose microcontrollers,

23   which are self-contained computers on a single chip used in a variety of industrial and consumer

24   products, including devices that connect to, and communicate through, the internet.

25                                 18.                                 In July 2015, in response to “significant market speculation regarding possible

26   transactions involving the company” and “[t]o support [its] employees and to keep everyone focused

27   on our continued success,” Atmel announced the creation of a “U.S. Severance Guarantee Program,”

28   which applied to all of its approximately 1,800 employees based in the United States. Atmel

                                                                                                                                                                                                                                        -4-
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                           Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 6 of 34



 1   informed its U.S. employees that it was seeking a merger partner and that it was rolling out the

 2   Severance Guarantee Plan to encourage all employees to continue working for Atmel and any

 3   successor entity despite the uncertainty surrounding Atmel’s corporate future. Between July 2015

 4   and at least April 4, 2016 when the merger between Atmel and Microchip became final, Atmel was

 5   the Plan Administrator of the Severance Guarantee Plan.

 6                                 19.                                 On or about July 9, 2015, Atmel delivered personalized letters to each of its U.S.-

 7   based employees, including plaintiffs, describing the benefits to which those employees would be

 8   entitled under the Severance Guarantee Plan if their employment were terminated without cause

 9   within 18 months after Atmel agreed to merge into, or be acquired by, another company (the “July 9

10   Severance Guarantee Letter”). Attached to each July 9 Severance Guarantee Letter was an

11   addendum (“July Addendum”) that set forth additional terms and details of the Severance Guarantee

12   Plan. All U.S.-based Atmel employees, including plaintiffs, were sent the identical July Addendum.

13   The July 9 Severance Guarantee Letters that Atmel distributed to all of its U.S.-based employees

14   were identical, except for the specific benefit level described for each class of employee.

15                                 20.                                 The July 9 Severance Guarantee Letter and the July Addendum (together, the “Plan

16   Documents”) identified three benefits guaranteed by the U.S. Severance Guarantee Program: a) a

17   cash payment of between 25% and 50% of the employee’s annual base salary (depending on whether

18   the employee was a director, a professional exempt employee, or a non-exempt employee); b) paid

19   health insurance premiums for between three and six months (again depending on the employee’s

20   job category); and c) for director-level and professional exempt employees, a prorated portion of the

21   employee’s annual incentive bonus.

22                                 21.                                 Atmel provided the Plan Documents to all of its U.S.-based employees, including

23   plaintiffs, on or about July 9, 2015. Atmel subsequently provided the Plan Documents to all U.S.-

24   based employees who were hired after July 9, 2015 but before April 4, 2016 (the date Atmel’s

25   merger with Microchip became final). All of Atmel’s U.S.-based employees, including plaintiffs,

26   were covered by the Severance Guarantee Plan at the time of Atmel’s April 4, 2016 merger with

27   Microchip.

28                                 22.                                 The Plan Documents state that the Plan will “remain in effect for 18 (eighteen)

                                                                                                                                                                                                                                        -5-
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                           Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 7 of 34



 1   months following [an] Initial Triggering Event,” which it defined as “a definitive agreement (a

 2   ‘Definitive Agreement’), on or before November 1, 2015, that will result in a Change of Control of

 3   the Company.” The Plan Documents further state that during that 18-month time period, the

 4   Severance Guarantee Plan would be “available to eligible employees,” that all “U.S.-based

 5   employees of Atmel Corporation as of the date a Change of Control is consummated” would be

 6   eligible for the Plan, and that each eligible employee would become entitled to the Plan’s benefits if

 7   terminated without cause within 18 months of the date Atmel had entered into a Definitive

 8   Agreement.

 9                                 23.                                 The Plan’s express language gave Atmel sole and exclusive authority to interpret the

10   Plan prior to any merger, and made Atmel’s pre-merger construction of the Plan’s language

11   conclusive and binding. In pertinent part, the Plan stated, “The [U.S. Severance Guarantee Benefit]

12   Program will be administered and interpreted by the Company [Atmel]. Any decision made or

13   action taken by the Company prior to a Change in Control with respect to the Program, and any

14   interpretation by the Company prior to a Change in Control of any term or condition of the Program,

15   or any related document, will be conclusive and binding on all persons and will be given the

16   maximum possible deference allowed by law.”

17                                 24.                                 Atmel recognized when it created the Plan that it might enter into a Definitive

18   Agreement with Company A (an “Initial Triggering Event”), but later decide to accept a more

19   attractive merger or acquisition proposal made before the closing date by Company B—a common

20   occurrence in corporate mergers. Atmel drafted the Plan with the intent and for the purpose of

21   reassuring its employees that they would remain entitled to the benefits guaranteed by the Severance

22   Guarantee Plan if they were terminated without cause within 18 months after an Initial Triggering

23   Event, even if Atmel eventually merged with a different company than the company with which

24   Atmel initially planned to merge.

25                                 25.                                 The Plan Documents do not state, imply, or in any way require the Initial Triggering

26   Event and the Change of Control to involve the same acquiring company. Nor do the Plan

27   Documents require that the eventual merger agreement have identical terms to the agreement

28   constituting the Initial Triggering Event. To the contrary, the plain language of the Plan and the

                                                                                                                                                                                                                                        -6-
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                           Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 8 of 34



 1   consistent expressed intent of defendants throughout the relevant time period, was that the Definitive

 2   Agreement giving rise to the Initial Triggering Event did not have to involve the same company with

 3   which a Change of Control eventually occurred, and that the terms of the ultimate merger agreement

 4   need not be identical to the agreement constituting the Initial Triggering Event. The purpose of the

 5   Plan was to create financial incentives to encourage Atmel’s employees to continue working for

 6   Atmel employees between the date Atmel reached an initial agreement to merge, as long as it was

 7   before November 1, 2015, and the date any change of control merger became final, regardless of

 8   which merger partner Atmel eventually selected or what the exact merger terms were. As long as

 9   the Initial Triggering Event occurred before November 1, 2015, the Plan’s severance protection

10   covered all Atmel employees who continued working for Atmel through the date of any subsequent

11   change of control.

12                 Atmel’s Merger & Acquisition Activity, and Microchip’s Assurances to Atmel’s Employees

13                                 26.                                 The Plan Documents state that for a Definitive Agreement to constitute the “Initial

14   Triggering Event” that would extend the Plan for 18 months, it must be entered into before

15   November 1, 2015. If no Definitive Agreement is entered into before November 1, 2015, the Plan

16   would expire by its terms and no Atmel employees would be entitled to any Plan benefits.

17                                 27.                                 On September 19, 2015, Atmel executed a “Definitive Agreement” within the

18   meaning of the Plan with Dialog Semiconductor plc (“Dialog”), under which Dialog agreed to

19   acquire Atmel for $4.6 billion in cash and stock. Atmel and Dialog entered into a formal

20   “Agreement and Plan of Merger” (“Merger Agreement”) on that date and publicly announced that

21 Merger Agreement in press releases. In September 2015, Atmel and Dialog identified their Merger

22   Agreement in a Form 8-K filing and a Form 425 filing with the Securities and Exchange

23   Commission (“SEC”).

24                                 28.                                 The September 19, 2015 Atmel-Dialog Merger Agreement constituted a “definitive

25   agreement that will result in a change of control of Atmel” within the meaning of the Severance

26   Guarantee Plan. Because this “Definitive Agreement” was executed before November 1, 2015, it

27   constituted an “Initial Triggering Event” that automatically extended the Severance Guarantee Plan

28   for 18 months from the execution date of the Definitive Agreement. Therefore, if Atmel

                                                                                                                                                                                                                                        -7-
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                           Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 9 of 34



 1   experienced a subsequent Change of Control and if Atmel employees were terminated without cause

 2   before March 19, 2017, those terminated employees would become entitled to the Plan’s benefits

 3   pursuant to the express language of the Severance Guarantee Plan.

 4                                 29.                                 Before Atmel executed its merger agreement with Dialog, it had also been engaged in

 5   merger discussions with defendant Microchip. Microchip continued to express interest in merging

 6   with, or acquiring, Atmel; and before the scheduled January 2016 closing date of the proposed

 7   Atmel/Dialog merger, Microchip made an offer to acquire Atmel that Atmel’s Board of Directors

 8   concluded was better than Dialog’s offer. In mid-January 2016, Atmel gave Dialog the opportunity

 9   to respond to Microchip’s offer by improving the terms of its own offer to acquire Atmel.

10                                 30.                                 Atmel’s employees, including plaintiffs, became aware in or about mid-January 2016

11   that Microchip was attempting to acquire Atmel and that Microchip might replace Dialog as Atmel’s

12   merger partner. Atmel’s management was aware of the uncertainty this created, even though Atmel,

13   as the creator and Plan Administrator of the Severance Guarantee Plan, knew and understood that,

14   because the Initial Triggering Event had already occurred (in September 2015), Atmel’s employees

15   would be entitled to the benefits guaranteed by the Severance Guarantee Plan if a Change of Control

16   occurred and if they were terminated without cause before March 19, 2017, regardless of which

17   entity eventually acquired Atmel.

18                                 31.                                 To alleviate employee concerns and to further the purposes underlying Atmel’s

19   creation of the Plan, Atmel management acting as Plan fiduciaries, repeatedly assured its employees

20   orally and in writing in January 2016 and thereafter that, even if Microchip replaced Dialog as the

21   acquiring company, any employee terminated without cause after that acquisition and prior to March

22   19, 2017 would still be entitled to receive the severance benefits provided by the Severance

23   Guarantee Plan, just as if Dialog were the acquiring company, because an Initial Triggering Event

24   had occurred prior to November 1, 2015.

25                                 32.                                 On or about January 13, 2016, Atmel’s Chief Executive Officer held a meeting with

26   Atmel employees who were employed at the Director level and above. After Atmel’s CEO

27   explained that Microchip had made a better offer than Dialog’s and that Atmel planned to give

28   Dialog four days in which to make a counter-offer, Atmel’s CEO, acting a Plan fiduciary, reiterated

                                                                                                                                                                                                                                        -8-
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 10 of 34



 1   to those employees that all severance benefits provided by the Plan would remain available pursuant

 2   to the Plan, regardless of whether the ultimate purchaser was Microchip or Dialog.

 3                                 33.                                 On or about January 14, 2016, Atmel’s Senior Vice President of Global Human

 4   Resources, acting as a Plan fiduciary, sent a letter to numerous Atmel employees, noting widespread

 5   speculation among employees about the potential acquisition of Atmel, confirming that the

 6   Severance Guarantee Plan remained in effect, and emphasizing that the employees’ eligibility for

 7   severance benefits under that Plan would not be affected by the fact that Microchip might be

 8   replacing Dialog as the acquiring company. Atmel’s January 14, 2016 letter expressly stated that the

 9   “U.S. Severance Guarantee Program continues to remain in place” and would entitle employees to

10   severance benefits “in the event that your employment is involuntarily terminated without Cause in

11   connection with a Change of Control of the company, including an acquisition by Dialog or

12   Microchip.”

13                                 34.                                 Between January and April 2016, many other members of Atmel management

14   similarly encouraged Atmel’s employees, including plaintiffs, to remain employed at Atmel and not

15   look for jobs elsewhere, by assuring those employees that they were fully covered by the severance

16   benefit guarantees provided by the Plan, regardless of whether Microchip was replacing Dialog as

17   Atmel’s merger partner.

18                                 35.                                 Dialog did not make a new offer to acquire Atmel during the January 14-18, 2016

19   window. Because Microchip’s offer was determined by Atmel’s Board of Directors to be “superior”

20   to Dialog’s offer, Atmel was entitled under the terms of its Merger Agreement with Dialog to

21   withdraw from that merger and to accept Microchip’s acquisition offer instead. Atmel thereupon

22   withdrew from its agreement with Dialog and entered into a merger agreement with Microchip on or

23   about January 19, 2016 (“the Microchip Merger Agreement”). Atmel’s merger with Microchip (“the

24   Merger”) was originally scheduled to close in the spring of 2016 and did in fact close on April 4,

25   2016.

26                                 36.                                 During the winter of 2015-16 and the spring of 2016, before the Merger between

27   Atmel and Microchip closed, Atmel provided Microchip with all material documents relating to the

28   Severance Guarantee Plan in effect with its employees, including the Plan Documents and the

                                                                                                                                                                                                                                        -9-
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 11 of 34



 1   September 2015 Merger Agreement between Dialog and Atmel. Atmel also provided Microchip

 2   with summaries and estimates of how much in severance pay and benefits would be owed to Atmel

 3   employees under the Severance Guarantee Plan if Microchip acquired Atmel and then terminated

 4   Atmel’s covered employees without cause before March 19, 2017. Atmel, as the Plan’s

 5   Administrator and as the drafter the Plan, understood and believed throughout this period and

 6   thereafter that the Initial Triggering Event under the Severance Guarantee Plan had occurred in

 7   September 2015; that the Plan was therefore in effect until March 2017 and would remain in effect

 8   with Microchip as the acquiring company; and that if Microchip acquired Atmel and terminated

 9   Atmel employees without cause prior to March 2017, Microchip would be obligated to pay the

10   benefits under the Plan to those terminated employees.

11                                 37.                                 Between mid-January and April 4, 2016, Atmel, acting as a Plan fiduciary, interpreted

12   the Plan and repeatedly communicated to Microchip its interpretation, understanding and belief, as

13 the drafter and Plan Administrator of the Severance Guarantee Plan, that the Plan was in effect until

14 mid-March 2017 and that Microchip would be obligated to pay the severance benefits provided by

15 that Plan to all Atmel employees, including plaintiffs herein, who were terminated without cause

16   before March 19, 2017. Microchip knew the terms of the Severance Guarantee Plan at the time the

17   Merger closed; knew that an Initial Triggering Event had occurred in September 2015; knew that

18   Atmel believed and intended (as the creator of the Plan and as the Plan Administrator) that the Plan

19   would and did remain in effect notwithstanding that Microchip had replaced Dialog as Atmel’s

20   acquiring company; and knew that Microchip would be obligated to pay all benefits guaranteed by

21   the Plan if Microchip subsequently terminated plaintiffs without cause before March 19, 2017.

22   Microchip also knew that Atmel management, acting as a Plan fiduciary, was communicating these

23   beliefs and understandings to Atmel employees, and that Atmel was assuring its employees,

24   including plaintiffs, that they were entitled to receive, and would receive, the severance benefits

25   guaranteed by the Plan if they were terminated without cause before March 19, 2017.

26                                 38.                                 Between mid-January and early April 2016, Microchip repeatedly, affirmatively, and

27   deliberately caused Atmel management and Atmel employees to believe that Microchip, as the post-

28   merger Plan Administrator, recognized the continued existence of the Severance Guarantee Plan,

                                                                                                                                                                                                                                     - 10 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 12 of 34



 1   intended to honor the Severance Guarantee Plan, and would pay all severance benefits provided by

 2   the Plan to all Atmel employees terminated without cause before mid-March 2017.

 3                                 39.                                 On or about February 3, 2016, Atmel management distributed to its employees a

 4 Frequently Asked Questions (“FAQ”) memorandum regarding the Microchip transaction. This

 5 memorandum, which was made available online for all Atmel employees, was entitled “Microchip

 6 Transaction: Effect on Compensation and Benefits for U.S. Employees.” The FAQ began with the

 7 question, “What happens to my employment and compensatory arrangements with Atmel after the

 8 closing?” The FAQ answers that question by stating: “Microchip has agreed to honor each of your

 9 employment and compensatory contracts (including … severance … agreements) with Atmel, or its

10 subsidiaries, that are in effect immediately prior to the closing of the transaction.”

11                                 40.                                 Microchip and its senior management, acting as a Plan fiduciary and/or because

12 Microchip would function as a fiduciary that would exercise discretionary control over the operation

13 or administration of the Plan once the merger closed, specifically reviewed and approved this FAQ

14 before Atmel distributed it to Atmel’s employees on or about February 3, 2016. Microchip knew

15 and understood that Atmel employees would read this FAQ and would understand and believe that

16 Microchip was aware of the Severance Guarantee Plan; that Microchip understood that the

17 Severance Guarantee Plan continued to exist; and that Microchip had agreed to pay the severance

18 benefits set forth in the Plan to those Atmel employees who were terminated following Microchip’s

19 acquisition of Atmel, in accordance with the Plan’s plain language.

20                                 41.                                 The Proxy Statement that Microchip and Atmel filed with the SEC in February 2016

21 referred to and incorporated the Microchip Merger Agreement between Microchip and Atmel. That

22 Proxy Statement stated: “Microchip has agreed, as of the Effective Time, to honor and perform all

23 employment compensatory contracts between Atmel . . . and any Atmel employees . . . including all .

24 . . employment compensation, severance . . . change in control and termination contracts disclosed to

25 Microchip . . .” Microchip assisted with drafting that Proxy Statement before its filing with the SEC

26 and independently reviewed and approved the Proxy Statement’s contents. Microchip knew and

27 understood that the Proxy Statement would reinforce Atmel employees’ understanding and belief

28 that Microchip would honor the Severance Guarantee Plan and would pay the severance benefits set

                                                                                                                                                                                                                                     - 11 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 13 of 34



 1   forth in the Plan to those Atmel employees who were terminated following Microchip’s acquisition

 2   of Atmel in accordance with the terms of the Plan.

 3                                 42.                                 On February 29, 2016, three senior members of Microchip’s finance team visited

 4   Atmel’s corporate headquarters in San Jose, California to discuss the upcoming acquisition/merger

 5   between Microchip and Atmel: Microchip’s Chief Financial Officer (Eric Bjornholt), its Director of

 6   Finance (Phil Kagel), and its Vice President of European Finance (Nawaz Sharif). On the morning

 7   of February 29, 2016, these three Microchip executives met with the senior members of Atmel’s

 8   Finance team (Director-level and above), comprising approximately 12 to 15 Atmel employees.

 9   During this meeting, which included a question-and-answer session regarding the upcoming Atmel-

10   Microchip merger, one of the Atmel employees asked the Microchip executives for confirmation that

11   Microchip would honor the Plan after the merger closed. In response, Microchip’s CFO (Mr.

12   Bjornholt), acting as a Plan fiduciary and/or because Microchip would function as a fiduciary that

13   would exercise discretionary control over the operation or administration of the Plan, assured the

14   Atmel employees that, if Microchip acquired Atmel and then terminated Atmel employees,

15   Microchip would honor the Plan.

16                                 43.                                 Later that same morning, Messrs. Bjornholt, Sharif, and Kagel held a second meeting

17   with a larger group of Atmel finance employees at Atmel’s San Jose headquarters. This meeting

18   was attended by all (or almost all) of Atmel’s San Jose finance team. Approximately 50 to 60 Atmel

19   employees attended that meeting. During that second meeting, which again focused on the

20   upcoming merger between Atmel and Microchip, Mr. Bjornholt again, acting as a Plan fiduciary

21   and/or because Microchip would function as a fiduciary that would exercise discretionary control

22   over the operation or administration of the Plan, reiterated to the Atmel employees that Microchip

23   would honor the Plan if Microchip later terminated any Atmel employees. Microchip’s CFO made

24   these statements and representations with the knowledge and intent that Atmel employees would rely

25   upon those statements and representations and would conduct themselves with the understanding and

26   belief that Microchip would honor the Plan and would provide the severance benefits guaranteed by

27   the Plan to any former Atmel employee terminated without cause prior to March 19, 2017.

28   ///

                                                                                                                                                                                                                                     - 12 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 14 of 34



 1                                 44.                                 Between mid-January and early April 2016, Atmel management, acting as a Plan

 2   fiduciary, repeatedly, consistently, and expressly communicated to its employees that the Severance

 3   Guarantee Plan was in effect notwithstanding that Microchip was replacing Dialog as Atmel’s

 4 merger partner, and that any Atmel employees terminated without cause following the acquisition by

 5   Microchip would receive the severance benefits provided by the Severance Guarantee Plan.

 6                                 45.                                 In accordance with the terms of the Plan, Atmel had thereby “made a decision or

 7   taken action” with respect to the Plan and had made an “interpretation . . . of a term or condition” of

 8   the Plan with respect to whether Atmel employees would remain eligible for Plan benefits if

 9   Microchip became the acquiring company. Atmel’s interpretations and decisions regarding the

10   Plan, which it communicated to plaintiffs as Plan beneficiaries prior to the merger closing, were

11   “conclusive and binding on all persons” under the terms of the Plan, and could not be contravened,

12   rejected, or modified by Microchip after the merger.

13                                 46.                                 Atmel management also communicated to Atmel employees on many occasions

14   between January and April 2016 that: a) Microchip was aware of the Severance Guarantee Plan: b)

15   Microchip was aware of its obligation to pay severance benefits under the Severance Guarantee Plan

16   if Microchip acquired Atmel and then terminated Atmel employees without cause during the covered

17   period; and c) Microchip had agreed to honor the severance obligations under the Plan. Microchip

18   knew at the time of the closing of the merger and thereafter that Atmel had repeatedly told its

19   employees that the Severance Guarantee Plan was in effect, that those employees would be paid the

20   severance benefits under the Plan if they were terminated following the merger, and that Microchip

21   had agreed to honor the Plan.

22                                 47.                                 At no time prior to the closing of the Microchip-Atmel merger on April 4, 2016 did

23   Microchip suggest or indicate to Atmel or to any plaintiff that Microchip had any understanding or

24   interpretation of the Severance Guarantee Plan that was different than the interpretation that Atmel

25   had communicated to its employees. At no time prior to the closing of the Microchip-Atmel merger

26   on April 4, 2016 did Microchip suggest or indicate to Atmel or to any plaintiff that the Severance

27   Guarantee Plan had “expired” or was otherwise not in effect. Nor did Microchip ever suggest or

28   indicate to Atmel or to any plaintiff that Atmel employees would have no right to severance benefits

                                                                                                                                                                                                                                     - 13 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 15 of 34



 1   under the Severance Guarantee Plan if Microchip terminated their employment without cause

 2   following the merger. At no time prior to the closing of the Microchip-Atmel merger on April 4,

 3   2016 did Microchip suggest or indicate to Atmel or to any plaintiff that Microchip intended to

 4   terminate Atmel employees following the merger without providing the severance benefits

 5   guaranteed by the Plan or that it intended to assert that the Plan had “expired” or that Microchip had

 6 no obligation to pay terminated Atmel employees any of the severance benefits set forth in the

 7 Severance Guarantee Plan. Microchip intended its pre-merger statements and actions to cause Atmel

 8 employees reasonably to understand and believe that Microchip intended to pay the severance

 9 benefits set forth in the Plan upon terminating any such employee without cause before March 19,

10 2017.

11                                 48.                                 Until April 4, 2016, plaintiffs did not know, and had no reason to know, that

12 Microchip did not intend to, and would not, honor its obligations under the Severance Guarantee

13 Plan to pay the severance benefits guaranteed by the Plan to employees it terminated without cause.

14                                                           Microchip’s Post-Merger Conduct and Denial of Benefits under the Plan

15                                 49.                                 Atmel became a wholly owned subsidiary of Microchip upon the April 4, 2016

16   effective date of the companies’ merger. That merger constituted a “Change of Control” within the

17   meaning of the Plan, entitling any former Atmel employee terminated without cause by Microchip

18   after the merger (but before March 19, 2017) to the severance benefits provided by the Severance

19   Guarantee Plan. During the week immediately following the April 4, 2016 merger closing,

20   Microchip terminated dozens of Atmel employees without cause, including plaintiffs Berman, Vu,

21   Kang, Viera-Castillo and Mirfakhraei. Each of those former Atmel employees thereby became

22   entitled to the full amount of severance benefits provided by the Plan.

23                                 50.                                 Even though Microchip had represented to Atmel and its employees for months that it

24   would honor the Severance Guarantee Plan, and even though Microchip deliberately caused Atmel

25   and its employees to rely to their detriment on Atmel’s and Microchip’s repeated representations that

26   Microchip would pay terminated employees the severance benefits provided by the Plan if they were

27   terminated without cause prior to March 19, 2017, Microchip’s actual plan and intent was to falsely

28   assert that the Plan had “expired” on November 1, 2015 and to refuse to pay terminated employees

                                                                                                                                                                                                                                     - 14 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 16 of 34



 1   the severance benefits due to them under the Plan. Notwithstanding Microchip’s repeated

 2   representations and assurances to Atmel and its employees, and despite Microchip’s knowledge and

 3   understanding that it was obligated to pay terminated employees the severance benefits set forth in

 4   the Plan, Microchip did not make these severance payments.

 5                                 51.                                 Following the April 4, 2016 merger closing date, Microchip acted as a Plan fiduciary

 6   and/or functioned as a fiduciary that would exercise discretionary control over the operation or

 7   administration of the Plan. In violation of its fiduciary duties under ERISA, Microchip intimidated

 8   and coerced Atmel employees after the April 4, 2016 merger, through false and misleading

 9   representations and economic pressure, into waiving statutory rights and benefits and accepting

10   significant “discounts” on the severance benefits those employees were legally owed and guaranteed

11   under the Plan, in order to save Microchip money.

12                                 52.                                 During the week following the April 4, 2016 merger closing, Microchip terminated

13   numerous Atmel employees without cause (“the Initial Terminated Employees”), including plaintiffs

14   Berman, Vu, Kang, Viera-Castillo and Mirfakhraei. On or about the time Microchip terminated

15   these employees, Microchip announced for the first time its position that the Severance Guarantee

16   Plan had “expired” on November 1, 2015 and therefore it had no obligation to pay, and would not

17   pay, the severance benefits provided by the Plan to any Initial Terminated Employees. Microchip

18   further announced that, based on its position that the Plan had “expired” on November 1, 2015

19   (because an Initial Triggering Event had not occurred within the meaning of the Plan), no former

20   Atmel employees would be entitled to any severance benefits under the Plan; Microchip was not

21   obligated to pay any severance benefits to any former Atmel employees under the Plan; and that

22   Microchip would not pay severance benefits to any former Atmel employees under the Plan.

23                                 53.                                 On or about April 6, 2016, Microchip sent letters to the Initial Terminated Employees

24   in which it offered to pay them between four to six weeks of salary each as severance (or

25   alternatively to pay them no cash severance but instead to give them certain Restricted Stock Units)

26   if they would sign a release of all claims against Microchip and Atmel and their affiliates, including

27   a release of all claims based on the enforceability of the severance benefit provisions of the Plan

28   (“the April 6 Offer and Release”). Each Initial Terminated Employee was entitled to a substantially

                                                                                                                                                                                                                                     - 15 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 17 of 34



 1   greater amount of benefits under the Plan than the four to six weeks of salary (or Restricted Stock

 2   Units) offered by Microchip, yet Microchip knowingly and intentionally represented falsely to the

 3   Initial Terminated Employees that they had no right to severance benefits under the Plan and that the

 4   Plan had ceased to exist. Microchip also knowingly and intentionally failed to inform any of the

 5   Initial Terminated Employees that: the Plan was still in existence and in effect; that the Initial

 6   Terminated Employees had rights under ERISA because they were beneficiaries of the Plan

 7   (including that they had a statutory right to file a claim for ERISA benefits under the Plan and a

 8   statutory right to appeal any denial of a claim for benefits under the Plan); and that pursuant to the

 9   Plan and the statutory protections provided by ERISA, the Initial Terminated Employees were

10   entitled to substantially and materially greater benefits than Microchip was offering them under its

11   April 6 Offer and Release. By these deliberate and knowing acts of omission and commission,

12   Microchip breached its fiduciary duties to plaintiffs under ERISA.

13                                 54.                                 Microchip’s offer to pay between four to six weeks of salary (or certain Restricted

14   Stock Units) as severance to the Initial Terminated Employees was an offer to pay only a small

15   fraction of the amount the Initial Terminated Employees were entitled to receive under the

16   Severance Guarantee Plan, which provided between four to six months of salary as severance

17   (depending on job level), plus a pro-rata portion of the employee’s annual incentive bonus, plus

18   several months of paid COBRA premiums.

19                                 55.                                 Between approximately April 11, 2016 and April 13, 2016, Microchip sent the Initial

20   Terminated Employees (including plaintiffs Berman, Vu, Kang, Viera-Castillo and Mirfakhraei) a

21   second letter, increasing its offer to pay them severance benefits in the amount of 50% of the cash

22   salary benefit that would be due under the Plan, 50% of the pro-rated bonus payments that would be

23   due under the Plan, and 50% of the health insurance premium payments that would be due under the

24   Severance Guarantee Plan (the “April 50% Offer and Release”). The April 50% Offer and Release

25   required the Initial Terminated Employees to sign a release of all claims against Microchip and

26   Atmel and their affiliates as a condition of accepting this offer, including all claims based on the

27   enforceability of the severance benefit provisions of the Plan and all claims for the full amount of

28   benefits due under the Plan. Microchip knowingly and intentionally failed to inform any of the

                                                                                                                                                                                                                                     - 16 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 18 of 34



 1   Initial Terminated Employees in the April 50% Offer and Release or at any other time that: the Plan

 2   was still in existence and in effect; that the Initial Terminated Employees had rights under ERISA

 3   because they were beneficiaries of the Plan (including that they had a statutory right to file a claim

 4   for ERISA benefits under the Plan and a statutory right to appeal any denial of a claim for benefits

 5   under the Plan); and that pursuant to the Plan and the statutory protections provided by ERISA, the

 6   Initial Terminated Employees were entitled to substantially and materially greater benefits than

 7   Microchip was offering them under its April 6 Offer and Release. By these deliberate and knowing

 8   acts of omission and commission, Microchip breached its fiduciary duties to plaintiffs under ERISA.

 9                                 56.                                 Microchip knowingly and intentionally misled and misrepresented to the Initial

10   Terminated Employees in its April 6 Offer and Release and in its April 50% Offer and Release that

11   the only severance benefits available to those Initial Terminated Employees were the benefits

12   Microchip offered in its April 6 Offer and Release and its April 50% Offer and Release, and that the

13   Initial Terminated Employees had no rights to the additional benefits provided by the Plan because

14   the Plan, according to Microchip’s knowingly false representations, had ceased to exist. Microchip

15   made these false, misleading, and fraudulent statements despite knowing that they were false, and

16   despite knowing that the Initial Terminated Employees were entitled to the severance benefits

17   provided by the Plan. Microchip coerced, intimidated, and threatened the Initial Terminated

18   employees to accept its April 6 Offer and Release and the April 50% Offer and Release by falsely

19   informing them that if they did not sign Microchip’s April 6 Offer and Release or the April 50%

20   Offer and Release, they would receive no severance benefits. Microchip made these statements in a

21   deliberate effort to mislead, intimidate and coerce the Initial Terminated Employees into foregoing

22   their severance rights and into accepting a “discount” on the severance actually due to the Initial

23   Terminated Employees, as part of a calculated plan by Microchip to save itself money by wrongfully

24   refusing to pay the full severance benefits due under the Severance Guarantee Plan. By these

25   deliberate and knowing acts of omission and commission, Microchip violated its fiduciary duties to

26   plaintiffs under ERISA.

27                                 57.                                 As a result of Microchip’s false and threatening statements and bad faith conduct,

28   many Initial Terminated Employees were coerced into signing the April 50% Offer and Release.

                                                                                                                                                                                                                                     - 17 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 19 of 34



 1                                 58.                                 Most Atmel employees, including plaintiffs Ramesh, Hanley, Shternshain and

 2   Schwarz, were not terminated in the first few days after the April 4, 2016 Merger, but continued to

 3   be employed by Microchip until later in 2016 or 2017 (“Continuing Employees”). Each of those

 4   Continuing Employees who was terminated without cause before March 19, 2017 is entitled to the

 5   full amount of severance benefits provided by the Severance Guarantee Plan. Between April 6, 2016

 6   and March 19, 2017, Microchip terminated hundreds of Continuing Employees without cause. Yet

 7   Microchip, despite acting as a Plan fiduciary and/or functioning as a fiduciary that would exercise

 8   discretionary control over the operation or administration of the Plan, failed and refused to pay any

 9   such Continuing Employee the benefits owed to those employees under the Plan.

10                                 59.                                 Between approximately April 11, 2016 and April 13, 2016, Microchip distributed to

11   each Continuing Employee, including plaintiffs Ramesh, Hanley, Shternshain and Schwarz, a “new”

12   severance agreement (“the Continuing Employee Diminished Benefits Offer” or “CEDBO”). The

13   terms of Microchip’s CEDBO were similar in most material respects to the terms of the April 50%

14   Offer and Release that Microchip had distributed to the Initial Terminated Employees. Under the

15   terms of the CEDBO, any Continuing Employee who was terminated without cause by Microchip

16   before March 19, 2017 would receive only 50% of the cash salary benefit that would otherwise be

17   due under the Plan, 50% of the pro-rated bonus payments that would otherwise be due under the

18   Plan, and 50% of the health insurance premium payments that would otherwise be due under the

19   Severance Guarantee Plan. Microchip required each Continuing Employee, as a condition of

20   becoming eligible for any of the benefits offered by Microchip in the CEBDO, to agree to: a) sign

21   the CEDBO and b) upon his or her termination, to sign a modified version of the April 50% Offer

22   and Release (“the Continuing Employee 50% Offer and Release”). The CEDBO thus required

23   Continuing Employees to release all claims against Microchip and its affiliates, including all claims

24   based on the enforceability of the severance benefit provisions of the Plan and all claims for the full

25   amount of benefits due under the Plan.

26                                 60.                                 Microchip knowingly and intentionally misled and misrepresented to the Continuing

27   Employees in the CEDBO and in the Continuing Employee 50% Offer and Release that the only

28   severance benefits available to those Continuing Employees were the benefits Microchip offered in

                                                                                                                                                                                                                                     - 18 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 20 of 34



 1   the CEDBO and in the Continuing Employee 50% Offer and Release, and that the Continuing

 2   Employees had no rights to the additional benefits provided by the Plan because the Plan had ceased

 3 to exist. Microchip made these false, misleading, and fraudulent statements despite knowing that

 4 they were false and despite knowing that the Continuing Employees were entitled to the severance

 5   benefits provided by the Plan if they were terminated without cause before March 19, 2017.

 6   Microchip coerced, intimidated, and threatened the Continuing Employees to accept its CEDBO and

 7   its Continuing Employee 50% Offer and Release by falsely informing them that if they did not sign

 8   Microchip’s CEDBO and Continuing Employee 50% Offer and Release, they would receive no

 9   severance benefits. Microchip made these statements in a deliberate effort to mislead, intimidate and

10   coerce the Initial Terminated Employees into foregoing their severance rights, as part of a calculated

11   plan by Microchip to save itself money by wrongfully refusing to pay the full severance benefits due

12   under the Severance Guarantee Plan. Microchip knowingly and intentionally failed to inform any

13   Continuing Employees in its CEDBO and in its Continuing Employee 50% Offer and Release, or at

14   any other time, that the Plan was still in existence and in effect, that the Continuing Employees had

15   rights under ERISA because they were beneficiaries of the Plan, or that pursuant to the Plan and the

16   statutory protections provided by ERISA, the Continuing Employees who were terminated without

17   cause before March 19, 2017 were entitled to substantially and materially greater benefits than

18   Microchip was offering them under its CEDBO and under its Continuing Employee 50% Offer and

19   Release. By these deliberate and knowing acts of omission and commission, Microchip breached its

20   fiduciary duties to plaintiffs under ERISA.

21                                 61.                                 As a direct and proximate result of Microchip’s false and misleading statements,

22   threats, intimidation, and coercion, and its wrongful failure to convey complete and accurate

23   information about the benefits to which terminated employees were entitled under the Severance

24   Guarantee Plan, Microchip caused many Continuing Employees to sign the CEDBO in April 2016

25   and then to sign the Continuing Employee 50% Offer and Release upon their termination without

26   cause.

27                                 62.                                 No Plan member would have signed Microchip’s April 6 Offer and Release, its April

28   50% Offer and Release, its CEDBO, or its Continuing Employee 50% Offer and Release

                                                                                                                                                                                                                                     - 19 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 21 of 34



 1   (collectively the “Reduced Benefit Documents”) if defendants had accurately informed that

 2   employee of the employee’s right to severance benefits under the Plan and if defendants had not

 3   falsely stated that the Plan had ceased to exist and falsely represented that the employee had no right

 4   to any severance benefits under the Plan.

 5                                 63.                                 Plaintiffs, all of whom were terminated without cause after the April 4, 2016 merger,

 6   did not sign any of the Reduced Benefit Documents. Defendants refused to pay plaintiffs any of the

 7   severance benefits due to them under the Severance Guarantee Plan. Plaintiffs submitted formal

 8   written claims to defendants pursuant to ERISA and the Severance Guarantee Plan, and demanded

 9   that defendants pay them the full severance benefits due to them under the Severance Guarantee

10   Plan. Despite having no justification for doing so, defendants deliberately and repeatedly delayed

11   giving responses to these claims, in an effort to induce more terminated employees to accept fewer

12   severance benefits than they were due under the terms of the Plan and in an effort to induce more

13   terminated employees to sign unlawful and voidable releases. Defendants breached their fiduciary

14   duties to plaintiffs by deliberately and repeatedly delaying their responses to these formal written

15   claims without justification and for these improper purposes, including by extending defendants’

16   own time for responding to those claims and appeals from those claims, despite knowing from the

17   outset that they intended to deny those claims and appeals on the ground that the Plan had ceased to

18   exist as of November 1, 2015.

19                                 64.                                 Defendants wrongfully denied the written claims for benefits submitted by plaintiffs

20   who had refused to sign any of the Reduced Benefit Documents, falsely stating in their claim denial

21   letters that: the Atmel employees were “not eligible for benefits” under the Plan because the Plan

22   had “expired” on November 1, 2015 because the merger agreement between Microchip and Atmel

23   was not the “same agreement” that Atmel had entered into with Dialog in September 2015. After

24   these terminated employees who had refused to sign any of the Reduced Benefit Documents filed

25   appeals of these denials, defendants delayed responding until virtually the last possible day for a

26   response and then denied their appeals on the identical erroneous and wrongful grounds.

27                                 65.                                 Plaintiffs are informed and believe that at all relevant times herein, defendants

28   Microchip, Atmel, and the Severance Guarantee Plan were the agents of each other, and were acting

                                                                                                                                                                                                                                     - 20 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 22 of 34



 1   within the course and scope of such agency. To the extent that said conduct and/or omissions were

 2   perpetrated by defendants and their agents, defendants confirmed and ratified said conduct and/or

 3   omissions.

 4                                                                                                                                                                                                   Claims & Appeals

 5                                 66.                                 Between May 20, 2016 and October 5, 2016, each plaintiff submitted a claim for

 6   benefits under the Severance Guarantee Plan to the Plan Administrator.

 7                                 67.                                 Between November 21, 2016 and November 29, 2016, the Plan Administrator denied

 8   each plaintiff’s claim for benefits under the Severance Guarantee Plan. In the denial letters,

 9   Microchip’s Human Resources Manager identified herself as the Plan Administrator and wrongfully

10   stated that plaintiffs were “not eligible for benefits” under the Plan because the Plan had “expired”

11   on November 1, 2015 with respect to any acquiring entity other than Dialog, and because the merger

12   agreement between Microchip and Atmel was not the “same agreement” that Atmel had entered into

13   with Dialog in September 2015.

14                                 68.                                 Between January 18, 2017 and January 20, 2017, each plaintiff submitted an appeal to

15   the Plan Administrator concerning the Plan Administrator’s decision to deny their claims for benefits

16   under the Severance Guarantee Plan. Plaintiffs’ appeals explained why the interpretation of the plan

17   documents set out in the Plan Administrator’s denial letters was incorrect and why the decision by

18   Plan Administrator contravened the terms of the Severance Plan and was arbitrary and capricious

19   and constituted a breach of the Plan Administrator’s fiduciary duties. Plaintiffs enclosed further

20   records and evidence in support of their appeals.

21                                 69.                                 Between March 17, 2017 and March 20, 2017, the Plan Administrator denied the

22   plaintiffs’ appeals and again refused to pay them the benefits due under the Severance Guarantee

23   Plan. In the letters denying plaintiff’s appeals, Microchip’s head of Human Resources again

24   identified herself as the Plan Administrator and stated that plaintiff’s appeals were being denied

25   because “[t]he agreement with respect to Dialog Semiconductor PLC referenced in your letter did

26   not result in a “Change in Control.” Thus, you are not eligible for benefits . . .” The Plan

27   Administrator again erroneously stated that the Severance Plan had “expired” on November 1, 2015.

28   ///

                                                                                                                                                                                                                                     - 21 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 23 of 34



 1                                 70.                                 Plaintiffs have each exhausted their administrative remedies under the Severance

 2   Guarantee Plan by submitting a claim for benefits to the Plan Administrator and by then submitting

 3   an appeal to the Plan Administrator after the Plan Administrator denied their claims.

 4                                 71.                                 Plaintiffs are entitled to the full benefits due under the Severance Guarantee Plan, and

 5   Defendants have wrongfully denied plaintiffs’ claims for those full benefits.

 6                                                                                          FIRST CAUSE OF ACTION
                                                                           Breach of Fiduciary Duties and the Remedies of Equitable Relief,
 7                                                                                       Equitable Estoppel and Surcharge
                                                                                  (ERISA Section 502(a)(3), 29 U.S.C. §1132(a)(3))
 8
                                   72.                                 Plaintiffs incorporate herein by specific reference, as though fully set forth, the
 9
     allegations in paragraphs 1 through 71.
10
                                   73.                                 The Severance Guarantee Plan is a “plan” within the meaning of ERISA.
11
                                   74.                                 At all relevant times, defendants have been fiduciaries with respect to the Plan’s
12
     participants, including plaintiffs, and/or functioned as fiduciaries because they exercised
13
     discretionary control over the operation or administration of the Plan. Defendants knowingly
14
     participated in each breach of fiduciary duty alleged herein. Defendants owe all Plan participants a
15
     duty of loyalty, which includes the duty to convey complete and accurate information when
16
     communicating to Plan participants about benefits under the Severance Guarantee Plan, and the duty
17
     not to make misrepresentations or misleading statements or omissions when communicating to Plan
18
     participants about benefits under the Plan.
19
                                   75.                                 Between the September 17, 2015 Initial Triggering Event and the April 4, 2016
20
     merger closing date, defendants communicated with the Severance Guarantee Plan’s participants,
21
     including plaintiffs, regarding those participants’ benefits under the Plan, and repeatedly and
22
     knowingly made material misrepresentations and misleading statements and omissions to the Plan
23
     participants about defendants’ intent and willingness to provide the benefits due under the Plan.
24
     Defendants falsely and misleadingly stated that they intended to honor the terms of the Plan and
25
     deliberately caused Plan participants to believe that defendants would provide all benefits described
26
     in the Plan Documents. When defendants made those statements and deliberately caused the Plan
27
     participants to believe that defendants intended to provide the full amount of severance benefits set
28

                                                                                                                                                                                                                                     - 22 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 24 of 34



 1   forth in the Plan to all participants who were terminated without cause before March 19, 2017,

 2   including plaintiffs, defendants had no such intention of honoring the Plan’s terms or of providing

 3   the benefits set forth in the Plan. Defendants were fully aware and understood before the merger

 4   closed that Atmel, as the drafter and creator of the Plan and as the Plan Administrator, believed and

 5   understood that the Plan was intact and in existence, and that Atmel further believed and understood

 6   that if Microchip acquired Atmel, the Plan’s participants who were terminated without cause before

 7   March 19, 2017 would be entitled to receive all benefits set forth in the Plan Defendants were also

 8   fully aware and understood before the merger closed that defendants were communicating these

 9   beliefs to the Plan participants. Defendants were fully aware and understood before the merger

10   closed that defendants had caused Plan participants to believe that Microchip had the same

11   understanding and belief as Atmel with respect to the Plan being intact and in existence and with

12   respect to the right of Plan participants to receive the benefits of the Plan if those participants were

13   terminated without cause before March 19, 2017. At no time prior to the merger closing did

14   defendants or any of them suggest or indicate to the Plan participants that Microchip had any

15   different interpretation or understanding of the Plan than Atmel had presented to those participants.

16   After the merger closed, Microchip had no authority or right, based on the language of the Plan and

17   otherwise, to construe or re-interpret the Plan in a manner that contravened Atmel’s pre-merger

18   interpretation or in a manner that required the Plan Administrator to deny benefits to Plan

19   participants who were entitled to severance benefits under the Plan as previously construed and

20   interpreted by Atmel as the drafter and prior Plan Administrator of the Plan.

21                                 76.                                 The April 6 Offer and Release, April 50% Offer and Release, CEDBO, and

22   Continuing Employee 50% Offer and Release (collectively “the Reduced Benefit Documents”), each

23   offered severance benefits to Plan participants, including plaintiffs, that were substantially and

24   materially lower in value than the benefits to which those participants were entitled under the

25   Severance Guarantee Plan. Defendants unlawfully and in breach of their fiduciary duties offered

26   those reduced benefits to Plan participants, including plaintiffs, in exchange for a general release of

27   all claims against Microchip and Atmel and their affiliates. At no time after the merger closing date

28   did defendants communicate to Plan participants, including plaintiffs, the truth that the Severance

                                                                                                                                                                                                                                     - 23 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 25 of 34



 1   Guarantee Plan was still in existence and in effect; that Plan participants had rights under ERISA

 2   because they were beneficiaries of the Plan, including the right to file a claim for ERISA benefits

 3   under the Plan and the right to appeal any denial of a claim for benefits under the Plan; and that

 4   pursuant to the Plan and the statutory protections provided by ERISA, that Plan participants were

 5   entitled to substantially and materially greater benefits than Microchip was offering them under the

 6   Reduced Benefits Documents.

 7                                 77.                                 When defendants falsely represented to Plan participants that the Severance

 8   Guarantee Plan was in effect and would provide severance benefits under its terms to all participants

 9   who were terminated without cause between the merger close date and March 19, 2017, defendants

10   knew that after the Merger closed on April 4, 2016 defendants would: a) falsely represent to Plan

11   participants that the Plan had expired; 2) falsely claim that Atmel employees had no right to any

12   benefits under the Plan; 3) falsely claim that defendants had no obligation to pay any benefits under

13   the Plan and 4) refuse to pay employees terminated without cause before March 19, 2017 the

14   benefits provided by the Plan. Defendants also knew that they would attempt to threaten, intimidate,

15   and coerce Plan participants into executing releases of claims for Plan benefits and accepting far less

16   in severance benefits than those employees were or would be entitled to receive under the Plan, by

17   means of making the false representations above.

18                                 78.                                 Defendants’ failure to convey complete and accurate information about the benefits to

19   which Plan participants were entitled under the Severance Guarantee Plan when defendants

20   presented those participants with the Reduced Benefit Documents, caused those participants to be

21   materially misinformed as to whether, and in what amount, they were or would be entitled to

22   severance benefits under the Plan. Defendants knowingly and deliberately failed to inform Plan

23   participants that they were actually entitled to greater severance benefits than those offered in

24   exchange for their execution of the Reduced Benefit Documents. Defendants also falsely and/or

25   fraudulently stated or implied, in presenting the Reduced Benefit Documents to Plan participants,

26   that the Plan had “expired” and that the Plan participants were not entitled to any benefits under the

27   Plan, even though defendants knew and understood at the time that those participants were entitled

28   to 100% of the benefits provided by the Plan if they were terminated without cause before March 19,

                                                                                                                                                                                                                                     - 24 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 26 of 34



 1   2017, and even though defendants knew and understood that they had deliberately caused those

 2   participants to believe before the Merger closed that they would receive 100% of the benefits

 3   provided by the Plan if terminated without cause before March 19, 2017.

 4                                 79.                                 Defendants breached their fiduciary duty to Plan participants by engaging in the acts

 5   and omissions described above, including by: a) failing to disclose prior to the Merger that

 6   defendants intended not to provide the benefits described in the Plan; b) affirmatively

 7   misrepresenting that defendants would honor the Severance Guarantee Plan when defendants did not

 8   intend to do so; c) deliberately misleading those participants into believing that defendants would

 9   pay the full amount of severance benefits provided by the Plan to all participants who were

10   terminated without cause before March 19, 2017; d) failing to pay the full amount of severance

11   benefits provided by the Plan to all participants who were terminated without cause before March

12   19, 2017; e) representing that the Plan had expired, thus preventing claims from even being

13   submitted; f) continuing to seek unlawful, voidable releases of claims even after having been put on

14   notice that such efforts were unlawful and a breach of defendants’ fiduciary duties; g) delaying

15   without justification their response to plaintiffs’ efforts to exhaust administrative remedies under

16   ERISA in order to avoid and delay paying benefits legally due; h) delaying without justification their

17   response to plaintiffs’ claims in an effort to get more employees to accept fewer severance benefits

18   than they were due under the terms of the Plan; i) purporting to “re-interpret” the Plan after the

19   Merger in a manner that contravened the interpretation and decision previously made by Atmel prior

20   to the merger with respect to the issue of Plan participants’ entitlement to benefits in the event that

21   Microchip replaced Dialog as the acquiring company, even though defendants had no authority or

22   right to do so following the Merger under the express language of the Plan; j) failing to inform Plan

23   Participants who were terminated without cause that they had rights under ERISA because they were

24   beneficiaries of the Plan, including the right to file a claim for ERISA benefits under the Plan and

25   the right to appeal any denial of a claim for benefits under the Plan; k) failing to inform Plan

26   participants who were terminated without cause that they were entitled to substantially and

27   materially greater benefits than Microchip was offering them under the Reduced Benefit Documents;

28   and l) attempting to obtain a discount on the full amount of benefits due to Plan Participants under

                                                                                                                                                                                                                                     - 25 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 27 of 34



 1   the Plan, even though defendants understood and believed that Plan Participants who were

 2   terminated without cause prior to March 19, 2017 were entitled to the full amount of benefits under

 3   the Plan.

 4                                 80.                                 None of defendants’ Reduced Benefit Documents refer to, mention, or identify

 5   ERISA or advise Plan participants, including plaintiffs, that those participants have any rights under

 6   ERISA or any right to benefits under ERISA and/or the Severance Guarantee Plan. Nor do any of

 7   defendants’ Reduced Benefit Documents specifically refer to or identify the Severance Guarantee

 8   Plan or specifically disclose that accepting any Reduced Benefit Documents is tantamount to

 9   waiving the severance benefits to which the terminated employee is entitled under the Severance

10   Guarantee Plan.

11                                 81.                                 Defendants’ acts and omissions as set forth above constitute a breach of defendants’

12   fiduciary duties under Section 404(a) of ERISA, 29 U.S.C. §1104(a).

13                                 82.                                 Plaintiffs have suffered economic and other harm as the direct and proximate result of

14   defendants’ false and misleading statements, omissions, and commissions alleged herein, including

15   defendants’ conduct in inducing plaintiffs to remain employed by Atmel and Microchip by

16   promising benefits that defendants did not intend to provide and did not provide, and defendants’

17   conduct in denying the existence of Plan benefits to Plan participants and as part of a scheme to

18   defraud Plan participants into executing waivers of their right to obtain the benefits provided by the

19   Plan.

20                                 83.                                 Plaintiffs have suffered and will continue to suffer irreparable harm if defendants are

21   not preliminarily and permanently enjoined from: a) continuing to make the false and misleading

22   statements, omissions, and commissions alleged herein; b) failing to pay the full amount of Plan

23   benefits to Plan participants who were terminated without cause between the Merger close date and

24   March 19, 2017; c) continuing to seek releases of claims for Plan benefits from Plan participants;

25   and d) continuing to administer the Plan in bad faith, as alleged herein.

26                                 84.                                 Pursuant to the Declaratory Judgment Act, 28 U.S.C. §2201, plaintiffs are entitled to:

27   a) a declaration that the Plan is valid and enforceable and remains in existence; b) a declaration that

28   all Plan participants, including plaintiffs, are entitled to the full amount of benefits provided by the

                                                                                                                                                                                                                                     - 26 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 28 of 34



 1   Plan if those persons were terminated without cause at any time between April 4, 2016 and March

 2   19, 2017 and c) a declaration that any releases obtained by defendants as a result of defendants’

 3   misrepresentations and other wrongful conduct are void and unenforceable.

 4                                 85.                                 Pursuant to Section 502(a) of ERISA, 29 U.S.C. §1132(a)(3), plaintiffs are entitled to

 5   a) a declaration that the Plan is valid and enforceable and remains in existence; b) a declaration that

 6 all Plan participants, including plaintiffs, are entitled to the full amount of benefits provided by the

 7 Plan if those persons were terminated without cause at any time between April 4, 2016 and March

 8 19, 2017; c) an injunction prohibiting defendants from continuing to deny Plan benefits to eligible

 9   employees; d) an injunction prohibiting defendants from continuing to make false and fraudulent

10   statements about the Plan’s existence or about any employee’s current or future right to benefits

11   under the Plan; e) an injunction prohibiting defendants from continuing to delay the processing of

12   any Plan member’s claim for ERISA benefits; f) an injunction requiring defendants to pay the full

13   amounts and benefits promised under the Plan to all employees who were terminated without cause

14   between the Merger close date and March 19, 2017; and g) equitable make-whole relief to all

15   employees who received no severance benefits upon their termination by Microchip or Atmel than

16   the Plan guaranteed.

17                                 86.                                 Pursuant to Section 409 of ERISA, 29 U.S.C. §1109(a) and Section 502(a) of ERISA,

18   29 U.S.C. §1132(a), plaintiffs are entitled to the removal and replacement of Microchip as Plan

19   Administrator with a new and different Plan Administrator that complies with its fiduciary

20   obligations to Plan participants.

21                                 87.                                 Because defendants benefited from their own fiduciary breaches at the expense of the

22   Plan participants, including plaintiffs, by not paying Plan participants severance benefits they were

23   entitled to under the Severance Guarantee Plan, plaintiffs are entitled to recover as an equitable

24   surcharge the difference between what defendants paid them in severance benefits and what

25   defendants should have paid them in severance benefits, disgorgement of profits gained as a result of

26   defendants’ breaches, plus interest and attorneys’ fees.

27   ///

28   ///

                                                                                                                                                                                                                                     - 27 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 29 of 34



 1                                                                                                                 SECOND CAUSE OF ACTION
                                                                                                                        Claim for Plan Benefits
 2                                                                                                         (ERISA Section 502(1)(B), 29 U.S.C. §1132(a)(1)(B) )
 3                                 88.                                 Plaintiffs incorporate herein by specific reference, as though fully set forth, the

 4 allegations in paragraphs 1 through 87.

 5                                 89.                                 ERISA § 502(a) (1) (B) (29 U.S.C. § 1132 (a) (1) (B)), permits participants in a plan

 6   to bring a civil action to recover benefits due them under the terms of a plan, to enforce their rights

 7   under the terms of a plan, and/or clarify their rights to future benefits under the terms of a plan.

 8                                 90.                                 By engaging in the acts and omissions alleged herein, including failing to pay

 9   Severance Guarantee Plan benefits to plaintiffs despite these former Atmel employees’ compliance

10   with all of the terms of the Severance Guarantee Plan and their eligibility for benefits thereunder;

11   falsely and fraudulently informing plaintiffs that the Plan had ceased to exist and that the Plan’s

12   benefits were no longer available; falsely and fraudulently informing plaintiffs that the only way a

13   terminated employee could become eligible for even a considerably less attractive package of

14   severance benefits would be for that employee to execute a broad release waiving any and all claims

15   against defendants, including a claim for the full amount of benefits guaranteed by the Plan; relying

16   on a standard of proof not articulated in the Plan’s provisions; purporting to “re-interpret” the Plan

17   after the Merger in a manner which contravened the interpretation and decision previously made by

18   Atmel prior to the merger with respect to the issue of Plan participants’ entitlement to benefits in the

19   event that Microchip replaced Dialog as the acquiring company, even though Microchip had no

20   authority or right to do so following the Merger under the express language of the Plan; interpreting

21   the Plan in contravention of the plain language of the Plan, including imposing conditions for

22   eligibility which do not exist in the Plan, in a bad faith effort to save itself money and deprive Plan

23   participants of benefits to which the Plan participants were entitled, refusing to provide plaintiffs

24   with documentation to substantiate its decision to deny benefits; failing to produce documents to

25   which plaintiffs were entitled pursuant to ERISA and the applicable Department of Labor

26   Regulations; and by failing to make a timely decision on plaintiffs’ claims, defendants have violated,

27   and continue to violate, the terms of the Severance Guarantee Plan and plaintiffs’ rights thereunder.

28   ///

                                                                                                                                                                                                                                     - 28 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 30 of 34



 1                                                                                                                                       THIRD CAUSE OF ACTION
                                                                                                                                  Interference with Exercise of ERISA Rights
 2                                                                                                                                   (ERISA Section 510, 29 U.S.C. §1140)
 3                                 91.                                 Plaintiffs incorporate herein by specific reference, as though fully set forth, the

 4   allegations in paragraphs 1 through 90.

 5                                 92.                                 ERISA § 510 (29 U.S.C. § 1140) permits participants in a plan to bring a civil action

 6   for interference with exercise of ERISA rights and to recover payments they are owed under a plan

 7   or that they would be owed under a plan absent such interference and to obtain equitable remedies

 8   such as restitution, imposition of constructive trusts, disgorgement, injunctions, and/or specific

 9   performance.

10                                 93.                                 By engaging in the acts and omissions alleged herein, including failing to pay

11   plaintiffs Severance Guarantee Plan benefits despite their compliance with all of the terms of the

12   Severance Guarantee Plan and their eligibility for benefits thereunder; falsely and fraudulently

13   informing plaintiffs that the Plan had ceased to exist and that the Plan’s benefits were no longer

14   available; falsely and fraudulently informing plaintiffs that the only way a terminated employee

15   could become eligible for even a considerably less attractive package of severance benefits would be

16   for that employee to execute a broad release waiving any and all claims against defendants,

17   including a claim for the full amount of benefits guaranteed by the Plan; purporting to “re-interpret”

18   the Plan after the Merger in a manner which contravened the interpretation and decision previously

19   made by Atmel prior to the merger with respect to the issue of Plan participants’ entitlement to

20   benefits in the event that Microchip replaced Dialog as the acquiring company, even though

21   Microchip had no authority or right to do so following the Merger under the express language of the

22   Plan; and by interpreting the Plan in contravention of the plain language of the Plan, including

23   imposing conditions for eligibility which do not exist in the Plan, in a bad faith effort to save itself

24   money and deprive Plan participants of benefits to which the Plan participants were entitled,

25   defendants have violated, and continue to violate, the terms of the Severance Guarantee Plan and

26   plaintiffs’ rights thereunder.

27                                 94.                                 At all times relevant herein, Defendants acted with the intent to interfere with

28   plaintiffs’ rights under ERISA.

                                                                                                                                                                                                                                     - 29 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 31 of 34



 1                                 95.                                 Defendants’ acts and omissions as set forth above constitute intentional interference

 2   with exercise of plaintiffs’ ERISA under Section 510 of ERISA, 29 U.S.C. §1140.

 3                                 96.                                 Plaintiffs have suffered economic and other harm as the direct and proximate result of

 4   defendants’ intentional interference with their ERISA rights, false and misleading statements,

 5   omissions, and commissions alleged herein, including defendants’ conduct in inducing plaintiffs to

 6   remain employed by Atmel and Microchip by promising benefits that defendants did not intend to

 7   provide and did not provide, and defendants’ conduct in denying the existence of Plan benefits to

 8   Plan participants and as part of a scheme to defraud Plan participants into executing waivers of their

 9   right to obtain the benefits provided by the Plan.

10                                 97.                                 Plaintiffs have suffered and will continue to suffer irreparable harm if defendants are

11   not preliminarily and permanently enjoined from: a) continuing to deny Plan benefits to eligible

12   employees; b) continuing to make false and fraudulent statements about the Plan’s existence or about

13   any employee’s current or future right to benefits under the Plan; c) continuing to delay the

14   processing of any Plan member’s claim for ERISA benefits; d) refusing to pay the full amounts and

15   benefits promised under the Plan to all employees who were terminated without cause between the

16   Merger close date and March 19, 2017; e) enforcing any releases obtained as a result of defendants’

17   false and misleading statements, omissions, and commissions alleged herein; f) continuing to seek

18   releases of claims for Plan benefits; and g) continuing to administer the Plan in bad faith, as alleged

19   herein.

20                                 98.                                 Pursuant to the Declaratory Judgment Act, 28 U.S.C. §2201, plaintiffs are entitled to:

21   a) a declaration that the Plan is valid and enforceable and remains in existence; b) a declaration that

22   all Plan participants, including plaintiffs, are entitled to the full amount of benefits provided by the

23   Plan if those persons were terminated without cause at any time between April 4, 2016 and March

24   19, 2017 and c) a declaration that any releases obtained by defendants as a result of defendants’

25   misrepresentations and other wrongful conduct are void and unenforceable.

26                                 99.                                 Pursuant to Section 510 of ERISA, 29 U.S.C. §1140, plaintiffs are entitled to: a) a

27   declaration that the Plan is valid and enforceable and remains in existence; b) a declaration that all

28   Plan participants, including plaintiffs, are entitled to the full amount of benefits provided by the Plan

                                                                                                                                                                                                                                     - 30 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 32 of 34



 1   if those persons were terminated without cause at any time between April 4, 2016 and March 19,

 2   2017; c) an injunction prohibiting defendants from continuing to deny Plan benefits to eligible

 3   employees; d) an injunction prohibiting defendants from continuing to make false and fraudulent

 4   statements about the Plan’s existence or about any employee’s current or future right to benefits

 5   under the Plan; e) an injunction prohibiting defendants from continuing to delay the processing of

 6   any Plan member’s claim for ERISA benefits; f) an injunction requiring defendants to pay the full

 7   amounts and benefits promised under the Plan to all employees who were terminated without cause

 8   between the Merger close date and March 19, 2017; and g) equitable make-whole relief to all

 9   employees who received no severance benefits upon their termination by Microchip or Atmel than

10   the Plan guaranteed.

11                                 100.                                Pursuant to Section 409 of ERISA, 29 U.S.C. §1109(a) and Section 502(a) of ERISA,

12   29 U.S.C. §1132(a), plaintiffs are entitled to the removal and replacement of Microchip as Plan

13   Administrator with a new and different Plan Administrator that complies with its fiduciary

14   obligations to Plan participants.

15                                 101.                                Because defendants benefited from their own intentional interference with plaintiffs

16   ERISA rights, fiduciary breaches at the expense of the Plan participants, including plaintiffs, by not

17   paying Plan participants severance benefits they were entitled to under the Severance Guarantee

18   Plan, plaintiffs are entitled to recover as an equitable surcharge the difference between what

19   defendants paid them in severance benefits and what defendants should have paid them in severance

20   benefits, disgorgement of profits gained as a result of such interferences, plus interest and attorneys’

21   fees.

22                                                                                                                                                                                 PRAYER FOR RELIEF

23                                 WHEREFORE, Plaintiffs pray for relief as follows:

24                                 1.                                  For an order declaring that that defendants violated the terms of the Plan and

25   plaintiffs’ rights thereunder by failing to pay plaintiffs the full amount of severance benefits due

26   under the Plan;

27                                 2.                                  For an order requiring defendants to pay plaintiffs all severance benefits due pursuant

28   to the terms of the Plan;

                                                                                                                                                                                                                                     - 31 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 33 of 34



 1                                 3.                                  For an injunction against defendants, preliminarily and permanently enjoining them

 2   from: a) continuing to deny Plan benefits to eligible employees; b) continuing to make false and

 3   fraudulent statements about the Plan’s existence or about any employee’s current or future right to

 4   benefits under the Plan; c) continuing to delay the processing of any Plan member’s claim for

 5   ERISA benefits; d) refusing to pay the full amounts and benefits promised under the Plan to all

 6   employees who were terminated without cause between the Merger close date and March 19, 2017;

 7   and e) continuing to administer the Plan in bad faith, as alleged herein;

 8                                 4.                                  For a declaration that the Plan is valid and enforceable and remains in existence;

 9                                 5.                                  For a declaration that all Plan participants, including plaintiffs, are entitled to the full

10   amount of benefits provided by the Plan if those persons were terminated without cause at any time

11   between April 4, 2016 and March 19, 2017;

12                                 6.                                  For a declaration that any releases obtained by defendants as a result of defendants’

13   misrepresentations and other wrongful conduct are void and unenforceable.

14                                 7.                                  To the extent that any Plan language is found to be ambiguous, for an order equitably

15   estopping defendants from disputing the Plan participants’ entitlement to the full amount of

16   severance benefits provided by the Severance Guarantee Plan if those participants were, or are,

17   terminated without cause by defendant at any time between the Merger close date and March 19,

18   2017.

19                                 8.                                     For the equitable relief of surcharge, including the return of the financial benefits

20   Defendants gained by breaching their fiduciary duties to Plaintiffs;

21                                 9.                                  For disgorgement of profits gained as a result of fiduciary breaches and/or

22   interference;

23                                 10.                                 For interest on all sums awarded;

24   ///

25   ///

26   ///

27   ///

28   ///

                                                                                                                                                                                                                                     - 32 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
                       Case 4:17-cv-01864-HSG Document 1 Filed 04/04/17 Page 34 of 34



 1                                 11.                                 For attorneys’ fees and the costs of action in an amount the Court determines to be

 2   reasonable, pursuant to ERISA Section 502(g)(1), 29 U.S.C. §1132(g)(1), and any other applicable

 3   provisions providing for attorneys’ fees and costs;

 4                                 12.                                 For such other and further relief as the Court deems just and proper.

 5                                                                                                                                                                                                                     Respectfully submitted,
 6
     Dated: April 4, 2017                                                                                                                                                                                           ALTSHULER BERZON LLP
 7                                                                                                                                                                                                                  MICHAEL RUBIN
                                                                                                                                                                                                                    CONNIE K. CHAN
 8                                                                                                                                                                                                                  RAPHAEL N. RAJENDRA
 9

10                                                                                                                                                                                                                     MCGUINN, HILLSMAN & PALEFSKY
                                                                                                                                                                                                                       CLIFF PALEFSKY
11                                                                                                                                                                                                                     KEITH EHRMAN

12
                                                                                                                                                                                                                       By:                                                  /s/ Keith Ehrman
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                                                                                                                                                                                     - 33 -
      _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                                                                                                                     ERISA COMPLAINT
